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                 EXHIBIT 24
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     Case No. 1:21-cv-23485-RKA

   THE MAD ROOM LLC D/B/A BALL AND
   CHAIN, ALTOS MEXICANO, LLC D/B/A
   TAQUERIAS EL MEXICANO, LITTLE
   HAVANA ARTS BUILDING, LLC, AND
   LA GRAN FIESTA, LLC


          Plaintiffs,

   v.

   THE CITY OF MIAMI,

          Defendant.

   _____________________________/

               PLAINTIFFS’ RESPONSES AND OBJECTIONS TO DEFENDANT
                  CITY OF MIAMI’S THIRD REQUEST FOR ADMISSIONS

           Plaintiffs The Mad Room LLC d/b/a Ball and Chain, Altos Mexicano, LLC d/b/a

   Taquerias El Mexicano, Little Havana Arts Building, LLC and La Gran Fiesta LLC’s

   (“Plaintiffs”) pursuant to Rule 36 of the Federal Rules of Civil Procedure, hereby serve their

   responses and objections (“Responses”) to Defendant City of Miami’s (“Defendant” or the

   “City”) Third Request for Admissions propounded on or around November 27, 2022, as follows:

                          GENERAL OBJECTIONS AND STATEMENTS

          The following General Objections are incorporated by reference in each of Plaintiffs’

   Responses to the specific requests as if fully set forth therein. Each of the Plaintiffs’ Responses

   will further expand as to the applicability of each of these General Objections to the City’s specific

   requests.
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          to the needs of the case. Critically, the words “You,” and “Your” are vague, inarticulate,
          and confusing, especially as applied to Plaintiffs’ general and current operations. The
          Request also seeks information protected by inter alia an attorney-client privilege, the
          attorney work-product doctrine, and/or a common interest privilege. For the foregoing
          reasons, Plaintiffs need not admit or deny the Request. Subject to and without waiving
          said Specific and General Objections, Plaintiffs only admit having conversations with
          Mr. Sarelson, attorney to former City of Miami employee Steve Miro, through their own
          attorneys of record, substantiating Plaintiffs’ claims in this lawsuit post-commencement
          of this Litigation. Otherwise, denied.


    26.   Admit that You paid each and every employee listed in Your Rule 26 disclosures.

          RESPONSE: Plaintiffs object to this Request as vague, overly broad, unduly
          burdensome, irrelevant to Plaintiffs’ claims or the City’s defenses and not proportional to
          the needs of the case. Critically, the words “You” and “employee” are vague, inarticulate,
          and confusing, especially as applied to Plaintiffs’ general and current operations. Subject
          to and without waiving said Specific and General Objections, Plaintiffs only admit to have
          included in their Rule 26 disclosures former and current employees of the Plaintiff entities,
          some of which were paid according to their respective employment scope and duration.
          Otherwise, denied.

    27.   Admit that Mad Room paid every employee listed on Paycheck Protection
          Program (“PPP”) Loan applications with PPP loan funds.

          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds and
          payment of employees during the relevant timeframe, Plaintiffs followed all requisite
          laws, regulations and applicable standards. Otherwise, denied.

    28.   Admit that LHAB paid every employee listed on Paycheck Protection Program
          (“PPP”) Loan applications with PPP loan funds.
          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds and
          payment of employees during the relevant timeframe, Plaintiffs followed all requisite
          laws, regulations and applicable standards. Otherwise, denied.
    29.   Admit that Taquerias paid every employee listed on Paycheck Protection Program
          (“PPP”) Loan applications with PPP loan funds.

          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
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          to the Specific and General Objections, as to all COVID-19 pandemic relief funds and
          payment of employees during the relevant timeframe, Plaintiffs followed all requisite
          laws, regulations and applicable standards. Otherwise, denied.

    30.   Admit that La Gran Fiesta paid every employee listed on Paycheck Protection
          Program (“PPP”) Loan applications with PPP loan funds.

          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds and
          payment of employees during the relevant timeframe, Plaintiffs followed all requisite
          laws, regulations and applicable standards. Otherwise, denied.

    31.   Admit that Mad Room used money obtained from Paycheck Protection Program
          (“PPP”) Loans for repairs or renovations to the property located at 1513 SW 8th St.,
          Miami, FL, 33135.

          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds during
          the relevant timeframe, Plaintiffs followed all requisite laws, regulations and applicable
          standards, and otherwise, need not and therefore do not admit or deny the Request.

    32.   Admit that Mad Room used money obtained from Paycheck Protection Program
          (“PPP”) Loans for repairs or renovations to the property located at 1513 SW 8th St.,
          Miami, FL, 33135.
          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds during
          the relevant timeframe, Plaintiffs followed all requisite laws, regulations and applicable
          standards, and otherwise, need not and therefore do not admit or deny the Request.
    33.   Admit that Mad Room used money obtained from Economic Injury Disaster Loans
          (“EIDL”) for repairs or renovations to the property located at 1513 SW 8th St.,
          Miami, FL, 33135.
          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds during
          the relevant timeframe, Plaintiffs followed all requisite laws, regulations and applicable
          standards., and otherwise, need not and therefore do not admit or deny the Request.
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    34.   Admit that LHAB used money obtained from Paycheck Protection Program
          (“PPP”) Loans for repairs or renovations to the property located at 1513 SW 8th St.,
          Miami, FL, 33135.
          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds during
          the relevant timeframe, Plaintiffs followed all requisite laws, regulations and applicable
          standards, and otherwise, need not and therefore do not admit or deny the Request.
    35.   Admit that LHAB used money obtained from Economic Injury Disaster Loans
          (“EIDL”) for repairs or renovations to the property located at 1513 SW 8th St., Miami,
          FL, 33135.

          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds during
          the relevant timeframe, Plaintiffs followed all requisite laws, regulations and applicable
          standards, and otherwise, need not and therefore do not admit or deny the Request.

    36.   Admit that Taquerias used money obtained from Paycheck Protection Program
          (“PPP”) Loans for repairs or renovations to the property located at 521 SW 8
          Street, Miami, Florida 33130.

          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds during
          the relevant timeframe, Plaintiffs followed all requisite laws, regulations and applicable
          standards, and otherwise, need not and therefore do not admit or deny the Request.

    37.   Admit that Taquerias used money obtained from Economic Injury Disaster Loans
          (“EIDL”) for repairs or renovations to the property located at 521 SW 8 Street, Miami,
          Florida 33130.
          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds during
          the relevant timeframe, Plaintiffs followed all requisite laws, regulations and applicable
          standards, and otherwise, need not and therefore do not admit or deny the Request.
    38.   Admit that La Gran Fiesta used money obtained from Paycheck Protection
          Program ("PPP") Loans for repairs or renovations to the property located at 521 SW
          8 Street, Miami, Florida 33130.
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          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds during
          the relevant timeframe, Plaintiffs followed all requisite laws, regulations and applicable
          standards, and otherwise, need not and therefore do not admit or deny the Request.

    39.   Admit that La Gran Fiesta used money obtained from Economic Injury Disaster
          Loans ("EIDL") for repairs or renovations to the property located at 521 SW 8
          Street, Miami, Florida 33130.

          RESPONSE: Plaintiffs object to this Request as overbroad, harassing, vague, unduly
          burdensome, in that it seeks information which is irrelevant to Plaintiffs’ claims or the
          City’s defenses and not proportional to the needs of the case. Subject and without waiver
          to the Specific and General Objections, as to all COVID-19 pandemic relief funds during
          the relevant timeframe, Plaintiffs followed all requisite laws, regulations and applicable
          standards, and otherwise, need not and therefore do not admit or deny the Request.

    Dated: December 27, 2022                     Respectfully submitted,

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